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                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.15-20545-CR-LENARD



  UNITED STATES O F AM ERICA,

               Plaintiff,

  V'
   @.

  G UILLERM O A .SA N CH EZ-BA DIA ,
  ISABEL C.SANCH EZ,
             and
  G USTAVO J.GIR AL,

               D efendants.
                                       /

                            FORFEITURE M ONEY JUDGM ENT
         THIS CAUSE is before the Courtupon the m otion of the United States of Am erica

  (hereinaftertsunited States'') forentry of a forfeiture money judgmentagainstGuillermo A.
   Sanchez-Badia,IsabelC.SanchezandGustavoJ.Giral(collectivelytheSçDefendants''),pursuant
        Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(1), and
  Fed.R.Crim .P.32.2(b)(2).Beingfullyadvisedinthepremises,theCourtfindsasfollows:
          1.    On January 16, 2015, Defendants were charged by way of Indictm ent with

   Conspiracy to Comm itW ire Fraud,in violation ofTitle 18,United StatesCode,Section 1349

   (Count1),W ireFraud,inviolation ofTitle18,United StatesCode,Section 1343 (Count2),and
   Conspiracy to Com mitM oney Laundering,in violation ofTitle 18,United StatesCode,Section

   1956(h)(Count9),amongstothercharges.(ECF No.31.
          2.    The Indictm ent further alleged that upon conviction of a violation of Title 18,
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  United States Code,Section 1343 or 1349,theDefendants shallforfeitto the United Statesany

  property, real or personal, which constitutes or is derived from proceeds traceable to said

  violations,pursuantto Title 18,United StatesCode,Section 981(a)(1)(C);and,the Indictment
  also provided thatupon conviction ofa violation ofTitle 18,United StatesCode,Section 1956,

  the Defendants shallforfeitto the United Statesany property,realorpersonal,involved in such

   offense,orany property traceable to such property,pursuantto Title 18,United States Code,

   Section 982(a)(l).The Indictment further provided as subject to forfeiture approximately
   $41,924,418.00,which represents the amount of m oney derived from the comm ission of the

   allegedwirefraudandmoneylaunderingoffenses.(ECFNo.3).
                On February 26,2016 and M arch 21,2016,the Defendantspled guilty to Counts

        and 9 of the lndictm ent.As partof their plea,the Defendants agreed to the entry of a

   forfeitureorderintheamountof$41,924,418.00.(ECFNos.72,74and841.
          4.    The entry ofan orderofforfeiture in the form ofa personalmoneyjudgment
   againstthe Defendantsis specifically authorized by Rule 32.2(b)(1) ofthe FederalRules of

   CriminalProcedure.
          Therefore,upon m otion of the United States,and for good cause shown,it is hereby

   ORDERED that:
          1.     A money judgmentin the amountof$41,924,418.00 ishereby entered against
   Guillermo A.Sanchez-Badia,IsabelC.Sanchez and Gustavo J.Giral,jointly and severally,
   pursuanttoTitle18,UnitedStatesCode,Sections981(a)(1)(C)and982(a)(1).
                The United States may seek collection ofthe money judgmentby attachment,
    gam ishment, execution, or any other legal remedy on any property or asset belonging to

    Defendants,orinwhichtheDefendantshavean interest,inordertosatisfythemoneyjudgment.

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        3.    PursuanttoRule32.2(b)(4)oftheFederalRulesofCriminalProcedure,this
  Ordershallbecome tlnalasto the Defendantsatthe time oftheirsentencing and shallbem ade

  partofthesentenceoftheCourtandincluded inthejudgmentinthiscause.
        4. The United States DistrictCourtshallretain jurisdiction in this matterfor the
  purposeofenforcingthisjudgment.
        DONE and ORDERED in Chambers,in M iami,Floridathis          day of   ril,   6.

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                                                JO  A .LEN A RD
                                                UN ED STA TES D 1 R ICT JU DG E




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